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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       )           CRIMINAL NO. 16-154 (KBJ)
                                               )
             v.                                )
                                               )
LUZ IRENE FAJARDO CAMPOS,                      )
                                               )
                        Defendant.             )

          GOVERNMENT’S NOTICE OF DEMONSTRATIVE PRESENTATIONS
            DISPLAYED DURING CLOSING ARGUMENT AND REBUTTAL

       During the trial in the above captioned case, the government displayed a presentation during

its closing argument and during its rebuttal argument. Following the trial, the Court requested the

government supplement the record by filing the presentations on the public docket. Accordingly, the

government’s closing argument presentation is attached as Attachment 1 and the government’s

rebuttal argument presentation is attached as Attachment 2.



                                                       Respectfully Submitted,

                                                       ARTHUR G. WYATT, Chief
                                                       Narcotic and Dangerous Drug Section
                                                       Criminal Division
                                                       United States Department of Justice

                                             By:         /s/ Cole Radovich
                                                       Cole Radovich
                                                       Kaitlin Sahni
                                                       Anthony Aminoff
                                                       Trial Attorneys
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                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent via the Electronic Case Filing (ECF)

system with the United States District Court for the District of Columbia to counsel of record for the

defendant, this 23rd day of December 2019.



                                             By:         /s/ Cole Radovich
                                                       Cole Radovich
                                                       Trial Attorney
                                                       Narcotic and Dangerous Drug Section
                                                       Criminal Division,
                                                       United States Department of Justice




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